Case 3:12-cv-00954-HES-.]RK Document 80 Filed 01/21/15 Page 1 of 3 Page|D 1864
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MIDDLE DISTRICT oF FLORIDA
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NICK MOGENSEN, Individually and on ) No. 3:12-cv-00954-HES-JRK

Behalf of All Others Similarly Situated,
CLASS ACTION

Plaintiff,
vs.

BODY CENTRAL CORPORATION,
B. ALLEN WEINSTEIN, THOMAS
STOLTZ and BETH R. ANGELO,

Defendants.

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ORDER APPROVING PLAN OF DISTRIBUTION OF SETTLEMENT
PROCEEDS

Case 3:12-cv-00954-HES-.]RK Document 80 Filed 01/21/15 Page 2 of 3 Page|D 1865

THIS MATTER is before the Court on Lead Plaintiff Nick Mogensen’s Motion
t`or Final Approval of Class Action Settlement and Plan of Distribution of Settlement
Proceeds. All capitalized terms used herein have the meanings set forth and defined in
the Stipulation and Agreement of Settlement dated August 25, 2014, and filed the same
day (Dkt. No. 67-1). The Court having considered all papers filed and proceedings had
herein and otherwise being fully informed;

IT lS HEREBY ORDERED, ADJUDGED AND DECREED that:

l. Pursuant to and in compliance with Rule 23 of the Federal Rules of Civil
Procedure, this Court hereby finds and concludes that due and adequate notice was
directed to persons and entities who are Class Members, advising them of the Plan of
Distribution and of their right to object thereto, and a full and fair opportunity was
accorded to persons and entities who are Class Members to be heard with respect to the
Plan of Distribution. There have been no objections to the Plan of Distribution.

2. The Court hereby finds and concludes that the Plan of Distribution for the
calculation of the claims to the Settlement that is set forth in the Notice of Pendency of
Class Action and Proposed Settlement, Motion 'for Attorneys’ Fees and Settlement
Faimess Hearing (the “Notice”) filed with the Court on August 25, 2014 (Dkt. No. 67-1),
approved by the Court on October 10, 2014 (Dkt. No. 70), and disseminated to Class
Members. provides a fair and reasonable basis upon which to allocate the net settlement

proceeds among Class Members.

Case 3:12-cv-00954-HES-.]RK Document 80 Filed 01/21/15 Page 3 of 3 Page|D 1866

3. The Court hereby finds and concludes that the Plan of Distribution set
forth in the Notice is, in all respects, fair and reasonable and the Court hereby approves
the Plan of Distribution.

4. The allocation and distribution of the Net Settlement Fund to Authorized
Clairnants will be accomplished as soon as reasonably possible.

IT IS SO ORDERED,

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Dated: i’k 2 D, 20/5

 

